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 UNITED STATES DISTRICT COURT FOR THE
 DISTRICT OF NEW JERSEY
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 JULIE A. SU, Acting Secretary of Labor, United States :
 Department of Labor, 1     0 F




                                                                       :
                                   Plaintiff,
                           v.                                          :
                                                                           No. 2:20-CV-17785 (KM) (ESK)
 ERNIE’S AUTO DETAILING INC. and ERNESTO                               :
 DECENA a/k/a BUENAVENTURA E. DECENA,
 individually,                                                         :

                                   Defendants.                         :
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                       DECLARATION OF ARISTOTELES RODRIGUEZ

        I, ARISTOTELES RODRIGUEZ, hereby declare under penalty of perjury pursuant to 28

U.S.C. § 1746 that the following is true and correct:

        1.       I submit this declaration in support of the Secretary’s application for default

judgment against Defendants Ernie’s Auto Detailing Inc. (“Ernie’s Auto”) and Ernesto Decena,

a/k/a Buenaventura E. Decena (“Decena”) (collectively, “Defendants”). This Declaration is based

upon my personal knowledge of the facts and circumstances relevant to this matter, and if called,

I would testify to the facts provided herein.

        2.       I am employed by the United States Department of Labor, Wage and Hour Division

(“WHD”) as an Assistant District Director (“ADD”) for the Northern New Jersey District Office.

My duty station is located at 200 Sheffield Street, Suite 102, Mountainside, NJ 07092. I have been

employed by WHD as an ADD since October 23, 2022. Prior to my promotion to ADD and at the




1 Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Acting Secretary of Labor Julie

A. Su is automatically substituted as Plaintiff.
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time of the investigation related to this matter, I was employed by WHD as a Wage and Hour

Investigator. I was employed by WHD as an investigator from May 23, 2010 to October 22, 2022.

       3.      When I was an investigator, my primary job was to conduct investigations of

employers under the various federal labor statutes administered and enforced by WHD. The

purpose of WHD’s investigations is to determine whether employers are in compliance with such

federal statutes and their supporting regulations.

       4.      The Fair Labor Standards Act of 1938 (the “FLSA” or the “Act”) is one of the

statutes enforced by WHD. The FLSA requires that employers pay overtime compensation equal

to at least one and one-half times an employee’s regular rate of pay for hours worked over 40 in a

workweek. The Act and the applicable regulations also require the maintenance of accurate records

of hours worked and compensation paid to employees.

                                     Investigation of Defendants

       5.      In January 2017, the WHD Northern New Jersey District Office initiated an

investigation of Defendants to determine their compliance with the provisions of the FLSA. I was

assigned as the lead investigator.

       6.      WHD’s investigation covered the period from January 30, 2017 through January

26, 2020 (the “relevant time period”).

       7.      During the investigation and this litigation, WHD obtained Defendants’ time and

pay records, including canceled checks from Defendants’ bank accounts, and interviewed

Defendants’ employees.

       8.      As Defendants’ own time and pay records plainly show, Defendants violated the

FLSA’s overtime and recordkeeping requirements.




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       9.      Defendants used a time keeping system through a third-party web-based time

keeping company called TimeStation LLC (“TimeStation”). Defendants used TimeStation at most

of the worksites to keep track of their employees’ hours worked during the relevant time period.

Most of Defendants’ employees accessed TimeStation by using a cell phone or tablet to clock in

when they began working and clock out when they finished working. Based on the information I

obtained during the investigation, with the rare exception of when employees likely forgot to clock

out, the time records maintained in the TimeStation system accurately reflected the hours worked

by Defendants’ employees.

       10.     I reviewed both Defendants’ formal payroll records as well as canceled checks from

Defendants’ bank statements which reflected payments to employees. The canceled checks from

Defendants’ JP Morgan Chase accounts generally corresponded with the amounts paid in the

payroll records. However, the canceled checks from Defendants’ TD Bank accounts reflected: (a)

payments made to employees who were not on Defendants’ payroll; and (b) additional payments

made to employees in amounts not reflected on the payroll even though these employees were on

Defendants’ payroll for the same workweeks.

       11.     Furthermore, the hours worked reflected on the formal payroll records did not

reflect all of the hours worked on Defendants’ TimeStation records. Specifically, Defendants’

payroll records vastly underrepresented the actual number of hours worked by employees during

the relevant time period.

       12.     For example, Defendants’ time records show that for every workweek from the

week ending July 8, 2018 through February 3, 2019, employee Christian De Jesus Cespedes

Germoso worked at least 52 hours and as many as 76.73 hours per week with an average of 65.97

hours per week. See Ex. 2 at 101-102 (hours worked transcribed from TimeStation records). In



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contrast, for week ending July 18, 2018 through February 3, 2019, Defendants’ payroll records

falsely show that Christian De Jesus Cespedes Germoso worked only 40 hours each of these

workweeks. See Ex. 9 (excerpt of payroll obtained during WHD investigation, DOL 3355-3356).

       13.     As another example, Defendants’ time records show that for every workweek from

the week ending November 11, 2018 through February 24, 2019, employee Miguel Alcantara

Medina worked at least 46.03 hours and as many as 67.22 hours per week with an average of 59.03

hours per week. See Ex. 2 at 477-78 (hours worked transcribed from TimeStation records). In

contrast, Defendants’ payroll records show that Medina worked only 30 hours each week during

the same time period. See Ex. 10 (excerpt of payroll obtained during WHD investigation, DOL

3301-3302).

       14.     When comparing Defendants’ payments to employees with the amount of hours

worked in the TimeStation records, it is clear that Defendants failed to pay their employees any

overtime premiums when employees worked over forty hours in a workweek. Instead, the total

payment amounts divided by the hours worked in TimeStation generally reflected that Defendants

only paid employees their straight hourly rate for all hours worked.

       15.     For example, for the week ending July 8, 2018, the TimeStation records show that

employee Isaac Morales Barranco worked 69.13 hours. See Ex. 11 (excerpt of TimeStation records

for week ending July 8, 2018). This employee was not on Defendants’ formal payroll records, but

received a non-payroll check of $691, which noted on the memo line that the payment was for

“Week of 7/2/18-7/8/18.” Ex. 12 (copy of non-payroll check). Thus, Defendants only paid this

employee $10 per hour ($691 divided by 69.13 hours) for all hours worked without any overtime

premium. This hourly rate was consistent with the hourly rate for this employee as reflected in the

TimeStation records.



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       16.      As another example, for the week ending August 20, 2017, according to

Defendants’ payroll records, employee Tobias Guerrero received $380 in gross wages for 40 hours.

See Ex. 13 (Excerpt of payroll obtained during WHD investigation, DOL1824). For that same

week, he also received a separate check for $183. See Ex. 14 (copy of non-payroll check). In total,

this employee received $563 in gross wages for this particular workweek. According to Time

Station, he worked 59.32 hours for the same week. See Ex. 15 (excerpt of TimeStation records for

week ending August 20, 2017). Thus, Defendants only paid this employee approximately $9.50

per hour ($563 divided by 59.32 hours). This hourly rate was consistent with the hourly rate for

this employee as reflected in the TimeStation records.

       17.      Accordingly, we computed back wages owed based on the total weekly hours

worked and hourly pay rates reflected in the TimeStation records, rather Defendants’ inaccurate

and incomplete payroll records.

                                   Back Wage Computations

       18.      For the period from January 30, 2017 (workweek ending February 5, 2017) through

January 26, 2020, WHD computed a total of back wages of $8,277,810.00 due to 1,504 employees

resulting from Defendants’ FLSA violations.

       19.      Attached hereto as Exhibit 1 is the summary of the total back wages owed. Exhibit

1 also notes the applicable geographic regions that a particular employee worked. The

computations are divided into seven geographic regions to reflect the various state minimum wage

rates during the applicable period, which were all higher than the federal minimum wage of $7.25

per hour except for Pennsylvania. These geographic regions correspond with Exhibits 2-8 as

follows:

             a. Exhibit 2 reflects the unpaid overtime back wages owed for work performed in New
                Jersey;


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              b. Exhibit 3 reflects the unpaid overtime back wages owed for work performed in New
                 York City;

              c. Exhibit 4 reflects the unpaid overtime back wages owed for work performed in
                 Westchester, New York;

              d. Exhibit 5 reflects the unpaid overtime back wages owed for work performed in
                 Long Island, New York;

              e. Exhibit 6 reflects the unpaid overtime back wages owed for work performed in
                 other regions in New York State;

              f. Exhibit 7 reflects the unpaid overtime back wages owed for work performed in
                 Connecticut; and

              g. Exhibit 8 reflects the unpaid overtime back wages owed for work performed in
                 Pennsylvania.

        20.      To determine the amount of unpaid overtime wages owed, we first determined the

employees’ regular rate of pay.

        21.      If the hourly pay rate reflected in the TimeStation records was the same as or above

the applicable state minimum wage, we used the hourly pay rate from TimeStation as the regular

rate of pay. See 29 C.F.R. § 778.5 (“Where a higher minimum wage than that set in the [FLSA] is

applicable to an employee by virtue of such other legislation, the regular rate of the employee, as

the term is used in the [FLSA], cannot be lower than such applicable minimum, for the words

‘regular rate at which he is employed’ as used in section 7 must be construed to mean the regular

rate at which he is lawfully employed.”); 29 C.F.R. § 778.108 (“If the employees’ regular rate of

pay is higher than the statutory minimum, [the] overtime compensation must be computed at a rate

not less than one and one-half times such higher rate.”). We then multiplied one-half of the regular

rate of pay by the hours exceeding 40 to determine the additional half-time overtime compensation

owed.

        22.      However, if the hourly pay rate reflected in the TimeStation records fell below the

applicable state minimum wage, we used the higher state minimum wage rate as the regular rate.

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See 29 C.F.R. § 778.5. To determine how much overtime compensation was owed to employees

whose hourly rate of pay in overtime workweeks fell below the applicable state minimum wage

rate, we subtracted the hourly rate reflected in the TimeStation records from the applicable state

minimum wage rate and multiplied that amount by the total amount of hours worked. See 29 C.F.R.

§ 778.315 (“[Overtime compensation] cannot be said to have been paid to an employee unless all

the straight time compensation due him for the nonovertime hours . . . under any applicable statute

has been paid.”). We then multiplied one-half of the regular rate of pay by the hours exceeding 40

to determine the additional half-time owed.

       23.     Each of the detailed computations in Exhibits 2 through 8 include the following

columns:

       24.     The first column, labeled “Week Ending Date,” identifies the workweek that the

employee worked over 40 hours by the ending date of that workweek. The week ending date is a

Sunday, reflecting a workweek from the preceding Monday through Sunday.

       25.     The second column, labeled “Name,” identifies the employee owed back wages.

       26.     The third column, labeled “Hourly Rate,” reflects the hourly rate for that employee

in the TimeStation records. If an hourly rate was not reflected in TimeStation for a particular

employee for a particular workweek, which happened less than three percent of the time, we used

the applicable state minimum wage rate as the hourly rate paid.

       27.     The fourth column, labeled “Hours/ Week” reflects the number of hours worked by

that employee in that particular workweek based on the TimeStation records. In the rare instance

that an employee’s hours in TimeStation appeared to be in error because the employee may have

forgotten to clock out, we adjusted the hours worked based on the hours that employee worked in

other days or in other similar workweeks. For ten of the employees who worked at Lexus/Nissan



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Bayridge worksite, there were no TimeStation records. However, we used some timecards and

other information obtained during the investigation to determine that they worked an average of

60 hours per week. See, e.g., Ex. 3 at 5-8, 32-37, 45-48, 62, 149-150, 186-188, 192-193.

       28.     The fifth column, labeled “State Minimum Wage,” reflects the applicable minimum

wage rate based on state law, as described in paragraph 22 above.

       29.     The sixth column, labeled “Section 7: Regular Rate Due,” reflects wages owed

under section 7 of the FLSA if Defendants failed to pay that employee the lawful regular rate. As

described above in paragraph 22, to determine how much overtime compensation was owed to

employees whose hourly rate of pay in overtime workweeks fell below the applicable state

minimum wage rate, we subtracted the hourly rate (third column) from the state minimum wage

rate (fifth column) and multiplied that amount by the total amount of hours worked (fourth

column).

       30.     The seventh column, labeled “Section 7: Half-time Due,” reflects the amount of

overtime wages due for not paying overtime premiums for hours worked over forty. To determine

the half-time due, we subtracted 40 hours from the hours worked that week (fourth column) and

then multiplied the hours over 40 by half of the regular rate of pay, either the hourly rate (third

column) or the applicable state minimum wage rate (fifth column), whichever was higher.

       31.     Finally, the eighth column on each analysis, labeled “Total Section 7 Overtime

Back Wages Due,” reflects the total overtime back wages owed to each employee in that particular

week. It is the sum of the sixth and seventh columns.

       32.     As set forth in Exhibit 1, in total, Defendants owe $8,277,810.00 in unpaid back

wages, plus an equal amount in liquidated damages, for a total of $16,555,620.00 to the 1,504

employees identified in Exhibit 1.



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DATED:      May 11, 2023
            Mountainside, New Jersey

                                           ARISTOTELES     Digitally signed by ARISTOTELES
                                                           RODRIGUEZ
                                           RODRIGUEZ       Date: 2023.05.11 12:55:37 -04'00'


                                             Aristoteles Rodriguez
                                             Assistant District Director




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